           ORAL ARGUMENT SCHEDULED FOR MARCH 21, 2025
              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY, ALLIED
INDUSTRIAL AND SERVICE WORKERS
INTERNATIONAL UNION, AFL-CIO,
                                                                 Lead Case No. 24-1151
      Petitioner,
      v.                                                      Consolidated with Case Nos.
                                                                  24-1182, 24-1185,
 ENVIRONMENTAL PROTECTION                                         24-1202, 24-1237
 AGENCY,
      Respondent.



  MOTION OF PETITIONERS AND INTERVENORS TO MODIFY THE
                   BRIEFING SCHEDULE
      Petitioners and Intervenors in the above-captioned consolidated petitions

respectfully request that the Court modify the current briefing schedule to extend

the deadline for filing final briefs by seven days, from February 14, 2025, to

February 21, 2025. All parties except for Respondents join this motion.

Respondents take no position on this motion.

      On August 21, 2024, pursuant to this Court’s order, Doc. 2066204, the

parties submitted a joint proposed briefing schedule and format, Doc. 2071284.

The parties proposed that the deferred joint appendix be due on February 14, 2025,

and the parties’ final briefs be due seven days later, on February 21, 2025. Id. at 3.


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      On September 9, 2024, the Court ordered a briefing schedule in this case.

Doc. 2073808. The order set the deadline for both the deferred appendix and final

briefs on February 14, 2025. Id. at 2.

      The undersigned parties respectfully request that the Court extend the

deadline for filing final briefs by seven days, to February 21, 2025. Doing so

would give the parties an opportunity to review the deferred appendix, after it has

been finalized by petitioners, and accurately update their briefs with relevant

citations to the appendix.



      DATED: February 4, 2025                 Respectfully submitted,

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      Counsel hereby certifies that this motions complies with the type-volume

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   DATED: February 4, 2025                          /s/ Tosh Sagar
                                                    Tosh Sagar




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